     Case 1:19-cr-00319-ENV Document 8 Filed 12/18/19 Page 1 of 18 PageID #: 22
                MMt

WK/CJC:DE/MEB/AS
F. #2018R02245                                                              ^ DEC 1 8 2019 ic
UNITED STATES DISTRICT COURT                                                 BROOKLYN OFFICE
EASTERN DISTRICT OF NEW YORK
                                             -X


UNITED STATES OF AMERICA                           INFORMATION


         - against-                                Cr. No. 19-CR-319(ENV)
                                                   (T. 18, U.S.C., §§ 371, 981(a)(1)(C), 982(a)(1),
DANIEL SARGEANT,                                    982(b)(1), 1956(h) and 3551 ^s^.; T. 21,
                                                    U.S.C., § 853(p); T. 28, U.S.C., § 2461(c))
                         Defendant.


                                             -X


THE UNITED STATES CHARGES:


                At all times relevant to this Information, unless otherwise stated:

I.       The Defendant and Relevant Individuals and Entities

                1.     Petroleo Brasileiro S.A. - Petrobras ("Petrobras") was a Brazilian state-

owned and state-controlled oil company headquartered in Rio de Janeiro, Brazil, that operated to

refine, produce and distribute oil, oil products, gas, biofiiels and energy. The Brazilian

government directly owned more than 50 percent of Petrobras's common shares with voting

rights. Petrobras was controlled by Brazil and performed government functions, and thus was an

"agency" and "instrumentality" ofa foreign government, as those terms are used in the Foreign

Corrupt Practices Act("FCPA"), Title 15, United States Code, Section 78dd-2.

                2.     Petroleos de Venezuela S.A.("PDVSA") was the Venezuelan state-owned

and state-controlled oil company. PDVSA and its subsidiaries and affiliates were responsible for

exploration, production, refining, transportation and trade in energy resources in Venezuela.

Among other products, PDVSA supplied asphalt to companies around the world and also
 Case 1:19-cr-00319-ENV Document 8 Filed 12/18/19 Page 2 of 18 PageID #: 23




                                                                                                   2


provided funding for various operations of the Venezuelan government. PDVSA and its

wholly-owned subsidiaries were "instrumentalities" of the Venezuelan government, as that term

is used in the FCPA,Title 15, United States Code, Section 78dd-2(h)(2)(A). PDVSA officers

and employees were "foreign officials," as that term is used in the FCPA,Title 15, United States

Code, Sections 78dd-2(h)(2) and 77dd-3(f)(2)(A).

               3.     Asphalt Company,the identity of which is known to the United States,

was a company incorporated and based in the United States that was one of the largest asphalt

providers in the world. Therefore, Asphalt Company was a "domestic concern," as that term is

used in the FCPA,Title 15, United States Code, Section 78dd-2(h)(l).

               4.     Asphalt Trading, the identity of which is known to the United States, was

a company incorporated in the Bahamas and based in the United States that was one of a group

of companies related to Asphalt Company. Asphalt Trading provided asphalt-related services to

customers, including Petrobras. Asphalt Trading's principal place of business was in the same

location as Asphalt Company's principal place of business in the United States. Therefore,

Asphalt Trading was a "domestic concern," as that term is used in the FCPA,Title 15, United

States Code, Section 78dd-2(h)(l).

               5.     Asphalt Company Affiliate, the identity of which is known to the United

States, was a company incorporated in Switzerland that was one of a group of companies related

to Asphalt Company. Asphalt Company Affiliate had the same principals as Asphalt Trading

and was incorporated after lending institutions withheld lines of credit from Asphalt Trading in

or around 2012.
 Case 1:19-cr-00319-ENV Document 8 Filed 12/18/19 Page 3 of 18 PageID #: 24




                                                                                                3

              6.      Joint Venture, the identity of which is known to the United States, was an

asphalt trading joint venture between Asphalt Company and a European asphalt company.

               7.     Swiss Asphalt Company,the identity of which is known to the United

States, was a company incorporated in Switzerland that was in the asphalt business and, at times,

a competitor to Asphalt Company. In or about and between 2012 and 2015, Asphalt Trading

entered into various contracts with Swiss Asphalt Company to purchase and sell asphalt.

              8.      The defendant DANIEL SARGEANT was a citizen of the United States

who worked primarily in the United States as an executive and part owner of Asphalt Company,

Asphalt Trading and Asphalt Company Affiliate from approximately 2006 through 2016. In or

about and between 2012 and 2016, SARGEANT was an executive and one of the chief decision-

makers at both Asphalt Trading and Asphalt Company Affiliate. In or about February 2016

through the present, SARGEANT was an executive at Joint Venture. SARGEANT's

responsibilities included seeking, approving and overseeing contracts with Petrobras and

PDVSA for Asphalt Company, Asphalt Trading and Asphalt Company Affiliate. Therefore,

SARGEANT was a "United States person,""domestic concern," an employee of a "domestic

concern" and an agent of a "domestic concern," as those terms are used in the FCPA,Title 15,

United States Code, Sections 78dd-2(h)(l) and 78dd-2(i).

              9.      Asphalt Trading Executive, an individual whose identity is known to the

United States, was a citizen ofthe United States who worked in the United States as an executive

and part owner of Asphalt Trading and Asphalt Company from approximately 2006 through July

2015. In or about and between 2006 and 2012, Asphalt Trading Executive was the chief

decision-maker at Asphalt Trading. Asphalt Trading Executive's responsibilities included
 Case 1:19-cr-00319-ENV Document 8 Filed 12/18/19 Page 4 of 18 PageID #: 25




                                                                                                 4

seeking, approving and overseeing contracts for Asphalt Company and Asphalt Trading with

Petrobras and PDVSA. Therefore, Asphalt Trading Executive was a "United States person,"

"domestic concern," an employee ofa "domestic concern" and an agent of a "domestic concern,"

as those terms are used in the FCPA,Title 15, United States Code, Sections 78dd-2(h)(l) and

78dd-2(i).

               10.    Asphalt Trading Employee, an individual whose identity is known to the

United States, was a citizen of the United States who worked in the United States for Asphalt

Company and related companies from approximately 2006 through 2018. Asphalt Trading

Employee's responsibilities included seeking contracts for Asphalt Company, Asphalt Trading

and related companies with Petrobras and PDVSA. Therefore, Asphalt Trading Employee was a

"domestic concern," an employee of a "domestic concern" and an agent of a "domestic concern,"

as that term is used in the FCPA,Title 15, United States Code, Section 78dd-2(h)(l).

               11.    Asphalt Company Employee, an individual whose identity is known to the

United States, was a citizen of Venezuela and legal permanent resident ofthe United States as of

at least 2017. Asphalt Company Employee worked at Asphalt Company in or about and between

2012 and 2018. Asphalt Company Employee's responsibilities included seeking contracts for

Asphalt Company, Asphalt Trading and related companies with PDVSA. Therefore, Asphalt

Company Employee was an employee of a "domestic concern" and an agent of a "domestic

concern," as that term is used in the FCPA,Title 15, United States Code, Section 78dd-2(h)(l).

               12.    Intermediary #1, an individual whose identity is known to the United

States, was a Brazilian national who worked in Brazil and the United States as an agent for

Asphalt Trading in or about and between the end of2009 and early 2016. Intermediary #rs
 Case 1:19-cr-00319-ENV Document 8 Filed 12/18/19 Page 5 of 18 PageID #: 26




                                                                                                     5


responsibilities included seeking contracts for Asphalt Company and Asphalt Trading with

Petrobras. Therefore, Intermediary #1 was an agent ofa "domestic concern," as that term is used

in the FCPA,Title 15, United States Code, Section 78dd-2(h)(l).

               13.     Petrobras Official #1, an individual whose identity is known to the United

States, was a high-ranking executive at Petrobras in or about and between 2004 and 2012.

Therefore, Petrobras Official #1 was a "foreign official," as that term is used in the FCPA, Title

15, United States Code, Sections 78dd-2(h)(2) and 78dd-3(f)(2)(A).

               14.     Petrobras Official #2, an individual whose identity is known to the United

States, was a high-ranking executive at Petrobras with responsibility over asphalt contracts in or

about and between September 2010 and December 2015. Therefore, Petrobras Official #2 was a

"foreign official," as that term is used in the FCPA,Title 15, United States Code, Sections 78dd-

2(h)(2) and 78dd-3(f)(2)(A).

               15.     Brazilian Politician #1, an individual whose identity is known to the

United States, was a member of the Brazilian Congress in or about and between 2006 and 2012.

Therefore, Brazilian Politician #1 was a "foreign official," as that term is used in the FCPA, Title

15, United States Code, Sections 78dd-2(h)(2) and 78dd-3(f)(2)(A).

               16.     Brazilian Politician #2, an individual whose identity is known to the

United States, was a minister in the Brazilian government in or about and between 2011 and

2015. Therefore, Brazilian Politician #2 was a "foreign official," as that term is used in the

FCPA,Title 15, United States Code, Sections 78dd-2(h)(2) and 78dd-3(f)(2)(A).

               17.     Intermediary #2 and Intermediary # 3, individuals whose identities are

known to the United States, were bribe intermediaries and businesspeople from Rio de Janeiro,
 Case 1:19-cr-00319-ENV Document 8 Filed 12/18/19 Page 6 of 18 PageID #: 27




                                                                                                  6


Brazil, who were involved in arranging the payment of bribes to foreign officials by companies

that wished to do business with Petrobras. Intermediary #2 and Intermediary #3 were hired to

act as agents on behalf of Asphalt Company and Asphalt Trading in order to secure business with

Petrobras by paying bribes to Petrobras and other government officials. Therefore, Intermediary

#2 and Intermediary #3 were agents of a "domestic concern," as that term is used in the FOPA,

Title 15, United States Code, Section 78dd-2(h)(l).

                18.    Intermediary #4, an individual whose identity is knovm to the United

States, was a citizen of Venezuela and a naturalized United States citizen as of approximately

2014 who worked as an agent for Asphalt Company, Asphalt Trading, Asphalt Company

Affiliate and Joint Venture. Therefore, Intermediary #4 was a "domestic concern" and an agent

of a "domestic concern," as that term is used in the TCPA, Title 15, United States Code, Section

78dd-2(h)(l).

                19.    PDVSA Official #1, an individual whose identity is known to the United

States, was a dual citizen of Spain and Venezuela and was involved in the sale ofPDVSA

asphalt in or about and between 2011 and March 2015. Therefore, during that time,PDVSA

Official #1 was a "foreign official," as that term is used in the FCPA,Title 15, United States

Code, Sections 78dd-2(h)(2) and 78dd-3(f)(2)(A).

                20.    PDVSA Official #2, an individual whose identity is known to the United

States, was a citizen of Venezuela and a supervisor at PDVSA ofPDVSA Official #1 in or about

and between 2011 and 2015. Therefore, during that time,PDVSA Official #2 was a "foreign

official," as that term is used in the FCPA,Title 15, United States Code, Sections 78dd-2(h)(2)

and 78dd-3(f)(2)(A).
  Case 1:19-cr-00319-ENV Document 8 Filed 12/18/19 Page 7 of 18 PageID #: 28




                                                                                                      7

               21.      PDVSA Official #3, an individual whose identity is known to the United

States, was a citizen of Venezuela and an analyst at PDVSA involved in the sale ofPDVSA

asphalt in or about and between 2011 and 2016. Therefore, during that time, PDVSA Official #3

was a "foreign official," as that term is used in the FCPA, Title 15, United States Code, Sections

78dd-2{h)(2) and 78dd-3(f)(2)(A).

               22.      PDVSA Official #4, an individual whose identity is known to the United

States, was a citizen of Venezuela and an employee ofPDVSA involved in the sale ofPDVSA

asphalt in or about and between 2011 and 2018. Therefore, during that time,PDVSA Official #4

was a "foreign official," as that term is used in the FCPA,Title 15, United States Code, Sections

78dd-2(h)(2) and 78dd-3(f)(2)(A).

II.    The Foreign Corrupt Practices Act


               23.      The FCPA was enacted by Congress for the purpose of, among other

things, making it unlawful for certain classes of persons and entities to corruptly offer, promise,

authorize or pay money or anything of value, directly or indirectly, to a foreign government

official to secure an improper advantage for the purpose of obtaining or retaining business for, or

directing business to, any person.

III.   The Bribery Schemes

       A.      Brazil


               24.      In or about and between 2010 and 2016,the defendant DANIEL

SARGEANT agreed with others, including Asphalt Trading Executive, Asphalt Trading

Employee and Intermediary #1,to offer and pay bribes, through Intermediary #2, Intermediary
 Case 1:19-cr-00319-ENV Document 8 Filed 12/18/19 Page 8 of 18 PageID #: 29




                                                                                                 8

#3 and others, to foreign officials in Brazil on behalf of Asphalt Trading and associated

companies so that they could obtain and retain business with Petrobras.

                 25.   In furtherance of the scheme,the defendant DANIEL SARGEANT and

others, including Asphalt Trading Executive, approved bribe payments to foreign officials in

order to obtain and retain business for and on behalf of Asphalt Company, Asphalt Trading and

Asphalt Company Affiliate.

                 26.   In or about and between 2010 and November 2014,the defendant

DANIEL SARGEANT and his co-conspirators, including Asphalt Trading Executive, Asphalt

Trading Employee,Intermediary #1,Intermediary #2, Intermediary #3 and others, made and

caused to be made bribe payments totaling more than $5 million to foreign officials in Brazil,

including Petrobras Official #1,Petrobras Official #2, Brazilian Politician #1 and Brazilian

Politician #2.


                 27.   In furtherance of the scheme, among other things, the defendant DANIEL

SARGEANT and his co-conspirators established shell companies in the Marshall Islands and

caused corrupt payments to be made into, from and through bank accounts located in the United

States and abroad, including bank accounts in Switzerland.

                 28.   As a result ofthe bribery scheme in Brazil, Asphalt Company, Asphalt

Trading, Asphalt Company Affiliate and others obtained numerous contracts with Petrobras with

a total value in excess of approximately $185 million.

       B.        Venezuela

                 29.   In or about 2012,the defendant DANIEL SARGEANT agreed with others,

including Asphalt Company Employee, Asphalt Trading Employee and Intermediary #4,to offer
 Case 1:19-cr-00319-ENV Document 8 Filed 12/18/19 Page 9 of 18 PageID #: 30




                                                                                                9

and pay bribes to various PDVSA officials in order to, among other things: (a) purchase asphalt

from PDVSA;(b) acquire inside, non-public information from PDVSA to obtain an improper

advantage in the purchase and sale of asphalt; and (c)recover certain late fees, called demurrage

fees, owed by PDVSA to Swiss Asphalt Company related to the loading of asphalt.

              (a)     2012-2015: Bribes to Win Contracts

               30.    Following a dispute between PDVSA and Asphalt Company prior to 2012,

PDVSA refused to sell asphalt to Asphalt Company or companies related to Asphalt Company.

To circumvent this prohibition. Asphalt Company and Swiss Asphalt Company agreed that

Swiss Asphalt Company would purchase asphalt from PDVSA at the request and direction of

Asphalt Company and then resell that asphalt to Asphalt Company at a small premium.

               31.    In or about and between 2012 and 2015,the defendant DANIEL

SARGEANT agreed with others, including Asphalt Company Employee, Asphalt Trading

Employee and Intermediary #4,to offer and pay bribes to foreign officials, including PDVSA

Official #1 and PDVSA Official #2,in order for Swiss Asphalt Company to obtain contracts for

the benefit of, and on behalf of. Asphalt Company, Asphalt Trading and Asphalt Company

Affiliate. Swiss Asphalt Company would then, in turn, resell asphalt to Asphalt Company,

Asphalt Trading and Asphalt Company Affiliate.

               32.    In furtherance ofthe scheme,in or about and between 2012 and 2015,

Asphalt Company and Asphalt Company Affiliate paid Intermediary #4 a commission, typically

calculated on a per barrel basis, for asphalt that Swiss Asphalt Company purchased from PDVSA

and provided to Asphalt Company. Intermediary #4 in turn paid a bribe to PDVSA Official #1,

typically calculated on a per barrel basis,for the asphalt that PDVSA sold to Swiss Asphalt
 Case 1:19-cr-00319-ENV Document 8 Filed 12/18/19 Page 10 of 18 PageID #: 31




                                                                                              10

Company. PDVSA Official #1 shared a portion of those bribe payments with PDVSA Official

#2.


              33.     In furtherance ofthe scheme, in or about and between 2013 and 2015,

Asphalt Company and Asphalt Company Affiliate paid Intermediary #4 approximately $1.2

million, from which Intermediary #4 in turn made bribe payments to PDVSA Official #I and

PDVSA Official #2, and kickback payments to Asphalt Company Employee.

              (b)     2015-2018: Bribes for Inside, Non-Public Information

              34.     In or about March 2015,PDVSA Official #1 stopped working at PDVSA

and began working at a company that did business with PDVSA as a counter-party, buying and

selling petrochemical products.

              35.    In or about and between March 2015 and April 2018,the defendant

DANIEL SARGEANT agreed with others, including Asphalt Company Employee, Asphalt

Trading Employee,Intermediary #4 and PDVSA Official #1,to offer and pay bribes to foreign

officials, including PDVSA Official #3 and PDVSA Official #4,in order to obtain non-public

information from PDVSA and to obtain a competitive advantage in obtaining and retaining

business with PDVSA.

              36.    In furtherance ofthis scheme, among other things, PDVSA Official #1

and Intermediary #4 obtained non-public information from foreign officials, including PDVSA

Official #3 and PDVSA #4, and provided it to Intermediary #4, who provided that information to

Asphalt Company and Asphalt Company Affiliate.

              37.    In order to promote and conceal the scheme, with the approval of the

defendant DANIEL SARGEANT,Intermediary #4 entered into a sham consulting agreement
 Case 1:19-cr-00319-ENV Document 8 Filed 12/18/19 Page 11 of 18 PageID #: 32




                                                                                               11


with Joint Venture, pursuant to which Intermediary #4 purportedly received a $2,000 monthly

retainer.


               (c)      2015-2018: Bribes to Recover Demurrage Fees

               38.     The contracts pursuant to which PDVSA agreed to supply Swiss Asphalt

Company with asphalt called for financial penalties, called demurrage fees, in the event of delays

by PDVSA in delivering and loading asphalt onto Swiss Asphalt Company's ships. Due to such

delays in or about and between 2015 and 2018,PDVSA incurred more than $3 million in

demurrage fees.

               39.     In or about and between March 2015 and 2018,the defendant DANIEL

SARGEANT and others provided approval for Intermediary #4 to pay PDVSA Official #1 ten

percent of any demurrage fees paid by PDVSA to Swiss Asphalt Company. The purpose ofthis

payment was so that PDVSA Official #1 would in turn pay bribes to various PDVSA employees

in exchange for their authorization of the payment of demurrage fees to Swiss Asphalt Company.

Swiss Asphalt Company,in its role as a pass-through, then remitted a portion ofthe demurrage

fees to Asphalt Company.

               40.     As a result of the scheme. Asphalt Company obtained approximately

$250,000 in demurrage fees.

                                           COUNT ONE
                                (Conspiracy to Violate the FCPA)

               41.     The allegations contained in paragraphs one through 40 are realleged and

incorporated as iffully set forth in this paragraph.
 Case 1:19-cr-00319-ENV Document 8 Filed 12/18/19 Page 12 of 18 PageID #: 33




                                                                                                       12


                42.    In or about and between 2010 and 2018, both dates being approximate and

inclusive, within the Eastern District ofNew York and elsewhere, the defendant DANIEL

SARGEANT,together with others, did knowingly and willfully conspire to commit one or more

offenses against the United States, to wit:

                       (a)     being a domestic concern, an employee of a domestic concern and

an agent of a domestic concern, to make use ofthe mails and means and instrumentalities of

interstate commerce corruptly in furtherance of an offer, payment, promise to pay, and

authorization ofthe payment of any money, offer, gift, promise to give, and authorization ofthe

giving of anything of value to a foreign official, to a foreign political party and official thereof,

and to a person while knowing that all and a portion ofsuch money and thing of value would be

offered, given, and promised to a foreign official and to a foreign political party and official

thereof, for purposes of: (i) influencing acts and decisions ofsuch foreign official, foreign

political party and official thereofin his, her and its official capacity;(ii) inducing such foreign

official, foreign political party and official thereof to do and omit to do acts in violation ofthe

lawful duty ofsuch official and party;(iii) securing any improper advantage; and (iv)inducing

such foreign official, foreign political party and official thereofto use his, her and its influence

with a foreign government and agencies and instrumentalities thereof to affect and influence acts

and decisions ofsuch government and agencies and instrumentalities, in order to assist Asphalt

Company and others in obtaining and retaining business for and with, and directing business to,

Asphalt Company and others, contrary to Title 15, United States Code, Section 78dd-2; and

                       (b)     while in the territory ofthe United States, to willfully make use of

the mails and means and instrumentalities of interstate commerce corruptly in furtherance of an
 Case 1:19-cr-00319-ENV Document 8 Filed 12/18/19 Page 13 of 18 PageID #: 34




                                                                                                     13


offer, payment, promise to pay, and authorization ofthe payment of any money, offer, gift,

promise to give, and authorization ofthe giving of anything of value to a foreign official, to a

foreign political party and official thereof, and to a person while knowing that all or a portion of

such money and thing of value would be offered, given, and promised to a foreign official and to

a foreign political party and official thereof, for purposes of: (i) influencing acts and decisions of

such foreign official, foreign political party and official thereof in his, her and its official

capacity;(ii) inducing such foreign official, foreign political party and official thereofto do and

omit to do acts in violation of the lawful duty of such official and party;(iii) securing any

improper advantage; and (iv) inducing such foreign official, foreign political party and official

thereof to use his, her and its influence with a foreign government and agencies and

instrumentalities thereof to affect and influence acts and decisions of such government and

agencies and instrumentalities, in order to assist Asphalt Company Affiliate and others in

obtaining and retaining business for and with, and directing business to. Asphalt Company and

others, contrary to Title 15, United States Code, Section 78dd-3.

                43.      In furtherance of the conspiracy and to effect its objects, the defendant

DANIEL SARGEANT,together with others, committed and caused to be committed, among

others, the following:

                                            OVERT ACTS


                         (a)    On or about July 5, 2010, Asphalt Trading Employee sent an

e-mail to SARGEANT and Asphalt Trading Executive reporting that "one of the 'expediters' in

Brazil 'working' the Petrobras contract" was in Florida and would come to the office for Asphalt

Company and Asphalt Trading the next day.
 Case 1:19-cr-00319-ENV Document 8 Filed 12/18/19 Page 14 of 18 PageID #: 35




                                                                                                 14

                      (b)     On or about August 9, 2010, SARGEANT sent an e-mail to

Asphalt Trading Executive informing him of the "good news" that Asphalt Trading's ships had

completed two shipments of asphalt to Petrobras.

                      (c)     On or about August 9,2010, Asphalt Trading Executive sent an e-

mail in response to the e-mail sent by SARGEANT referenced in Paragraph 43(b),

acknowledging,"Wow guess last Brazil trip with crooks paid off. Should go again before

contract next year gets hot and heavy."

                      (d)     On or about September 10, 2010, Intermediary #1, Petrobras

Official #2 and Intermediary #3 traveled from Brazil to the United States to meet with executives

and employees of Asphalt Company and Asphalt Trading, including Asphalt Trading Employee

and Asphalt Trading Executive.

                      (e)     On or about September 15, 2010,an executive at Asphalt Trading

sent an email to SARGEANT confirming the company's transfer of$929,217.66 to the bank

account of a company controlled by Intermediary #2 and reporting the following to

SARGEANT:"Regarding Brazil. Paid in full."

                      (f)     On or about October 4, 2011, Asphalt Trading Company wired

$126,552.24 from a bank account in Florida that it controlled, through the Eastern District of

New York,to a bank account in Switzerland of a company controlled by Intermediary #2.

                      (g)     On or about September 19, 2013, Asphalt Company Employee sent

an e-mail to Intermediary #4 asking him for internal, non-public PDVSA information from

PDVSA Official #1,and using the code name "Oiltrader" to refer to PDVSA Official #1.
 Case 1:19-cr-00319-ENV Document 8 Filed 12/18/19 Page 15 of 18 PageID #: 36




                                                                                               15

                       (h)      On or about September 25, 2013, Intermediary #1 sent an e-mail to

Asphalt Trading Employee attaching an invoice from "[o]ur friends."

                       (i)      On or about September 25, 2013, Asphalt Trading Employee

forwarded to management at Asphalt Company Affiliate the e-mail from Intermediary #I and the

invoice from "[o]ur friends" referenced in Paragraph 43(h) with a request to "Please pay."

                       (j)      On or about August 18, 2014, Asphalt Company Employee

forwarded an e-mail to Asphalt Trading Employee that Asphalt Company Employee had

received from Intermediary #4 and that Intermediary #4 had previously received from PDVSA

Official #1. This e-mail contained an internal PDVSA e-mail regarding PDVSA's assessment of

the demurrage fees it owed in connection with various asphalt shipments.

                       (k)      On or about February 11, 2016, Asphalt Company Employee sent

an e-mail to the director of Asphalt Company Affiliate, copying Asphalt Trading Employee and

SARGEANT,attaching a Past Due Statement from Intermediary #4 and stating:

               Per information from [the executive at Asphalt Company] he has
               approved and giving [sic] you payment instructions for the
               attached invoice. Since we are very sensitive on time due to new
               activities are ready to start. Please advise me as soon as wire
               transfer goes out as I need to manage the situation.

               (Title 18, United States Code, Sections 371 and 3551 et seq.)

                                           COUNT TWO
                             (Conspiracy to Commit Money Laundering)

               44.     The allegations contained in paragraphs one through 40 and 43 are

realleged and incorporated as if fully set forth in this paragraph.
 Case 1:19-cr-00319-ENV Document 8 Filed 12/18/19 Page 16 of 18 PageID #: 37




                                                                                                  16


               45.     In or about and between 2010 and 2018, both dates being approximate and

inclusive, within the Eastern District of New York and elsewhere, the defendant DANIEL

SARGEANT,together with others, did knowingly and intentionally conspire to transport,

transmit and transfer monetary instruments and funds from a place in the United States to and

through a place outside the United States and to a place in the United States from and through a

place outside the United States with the intent to promote the carrying on of one or more

specified unlawful activities, to wit: (i) felony violations of the FCPA,in violation of Title 15,

United States Code, Sections 78dd-2 and 78dd-3; and (ii) offenses against a foreign nation

involving the bribery of a public official, and the misappropriation, theft and embezzlement of

public funds by and for the benefit of a public official, in violation of Article 333 ofthe Brazilian

Penal Code, contrary to Title 18, United States Code, Section 1956(a)(2)(A).

               (Title 18, United States Code, Sections 1956(h)and 3551 et seq.l

               CRIMINAL FORFEITURE ALLEGATION AS TO COUNT ONE

               46.     The United States hereby gives notice to the defendant that, upon his

conviction of the offense charged in Count One,the government will seek forfeiture in

accordance with Title 18, United States Code, Section 981(a)(1)(C) and Title 28, United States

Code Section 2461(c), which require any person convicted of such offense to forfeit any

property, real or personal, constituting, or derived from, proceeds obtained directly or indirectly

as a result of such offense.


               47.     If any of the above-described forfeitable property, as a result of any act or

omission of the defendant:


                      (a)      cannot be located upon the exercise of due diligence;
 Case 1:19-cr-00319-ENV Document 8 Filed 12/18/19 Page 17 of 18 PageID #: 38




                                                                                                      17

                       (b)     has been transferred or sold to, or deposited with, a third party;

                       (c)     has been placed beyond the jurisdiction ofthe court;

                       (d)     has been substantially diminished in value; or

                       (e)     has been comingled with other property which cannot be divided
without difficulty;

it is the intent of the United States, pursuant to Title 21, United States Code, Section 853(p), to

seek forfeiture of any other property ofthe defendant up to the value ofthe forfeitable property

described in this forfeiture allegation.

               (Title 18, United States Code, Section 981(a)(1)(C); Title 21, United States Code,

Section 853(p); Title 28, United States Code, Section 2461(c))

               CRIMINAL FORFEITURE ALLEGATION AS TO COUNT TWO


               48.     The United States hereby gives notice to the defendant that, upon his

conviction ofthe offense charged in Count Two,the government will seek forfeiture in

accordance with Title 18, United States Code, Section 982(a)(1), which requires any person

convicted ofsuch offense to forfeit any property, real or personal, involved in such offense, or

any property traceable to such property.

               49.     If any of the above-described forfeitable property, as a result of any act or

omission ofthe defendant:


                       (a)     cannot be located upon the exercise of due diligence;

                       (b)     has been transferred or sold to, or deposited with, a third party;

                       (c)     has been placed beyond the jurisdiction ofthe court;

                       (d)     has been substantially diminished in value; or
 Case 1:19-cr-00319-ENV Document 8 Filed 12/18/19 Page 18 of 18 PageID #: 39




                                                                                                      18

                       (e)     has been comingled with other property which cannot be divided

without difficulty;

it is the intent of the United States, pursuant to Title 21, United States Code, Section 853(p), as

incorporated by Title 18, United States Code, Section 982(b)(1), to seek forfeiture ofany other

property ofthe defendant up to the value of the forfeitable property described in this forfeiture

allegation

               (Title 18, United States Code, Sections 982(a)(1) and 982(b)(1); Title 21, United

States Code, Section 853(p))




                                                      RICHARD P. DONOGHU
                                                      United States Attorney
                                                      Eastern District of New York




                                                      ROBERTA.ZINK
                                                      Chief, Fraud Section
                                                      Criminal Division, Dept. of Justice
